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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

V' cr. NO. 16-10280-MLW

DAVID MAGLIO,
Defendant.

MEMORANDUM AND ORDER

 

WOLF, D.J. April 19, 2019

The court has considered the parties' responses to the April
16, 2019 Order, which state that defendant David Maglio does not
request an opportunity to enter a conditional plea pursuant to
Federal Rule of Criminal Procedure ll(a)(2) and the government
does not consent to the entry of a conditional plea.

lt is hereby ORDERED that:

1. Defendant's Motion to Withdraw Guilty Plea (Docket No.

118) (the "Motion") is ALLOWED. See United States v. Ochoa, 353 F.

 

App'x 390, 394 (11th Cir. 2009); United States v. Pierre, 120 F.3d

 

1153, 1156 (11th Cir. 1997); United States v. Gustafson, 1994 WL

 

235322, *1 (9th Cir. June 1, 1994).

2. A pretrial conference shall be held on April 24, 2019,
at 11:30 a.m. At that conference the court will amplify the reasons
for allowing the Motion, question defendant about his request to
represent himself at trial, and discuss whether stand-by counsel

should be appointed to assist him if he represents himself at

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trial. See Faretta v. California, 422 U.S. 806 (1975); United

 

States v. Robinson, 753 F.3d 31, 42-46 (1st Cir. 2014).

 

C)~AM,~@W

UNITED S'I'ATES DISTRICT JUDGE

 

